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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                            ALEXANDRIA DIVISION


     IN RE:CAPITAL ONE CONSUMER DATA                            MDL No. 1:19nid2915(AJT/JFA)
     SECURITY BREACH LITIGATION




                                                    ORDER


              Plaintiffs submitted their Motion to Modify Scheduling Order dated January 8, 2021.

      (Docket no. 1115). Having reviewed the memorandum in support of this motion and taking into

      consideration the discussion with counsel during the status conference on January 12,2021, it is

      ORDERED that the Plaintiffs' Motion is GRANTED IN PART.The Scheduling Order is hereby

      modified as follows:

                                             Date According to Pretriai
                     Event                                                     Revised Date
                                                  Orders 24 or 25
       Plaintiffs' disclosure of                                               March 1,2021
                                             Februaiy 1,2021 (Dkt. 880)
       expert(s)and expert reportfs)
       Defendants' disclosure of
                                              March 2,2021 (Dkt.880)           April 7,2021
       expert(s)and expert reportfs)
       Plaintiffs' disclosure ofrebuttal
                                              March 23,2021 pkt.880)           April 28,2021
       expert report(s)
       Lead plaintiffs' counsel to file       March 23,2021 pkt.448)           April 28,2021
       any motion for class certification
       Completion of depositions of
                                              April 20,2021 (Dkt. 880)         May 28,2021
       experts or rebuttal experts
       Expert discoveiy closes                April 20,2021 (Dkt. 880)         Mav28.2021
       Defendants to file response in
       opposition to motion for class         April 20,2021 (Dkt.448)          May 28,2021
       certification and related Daubert
       motions
       Plaintiffs' reply in support of
       class certification and response        May 11,2021 (Dkt. 448)           June 18,2021
       in opposition to any related
       Daubert motions
       Defendants' replies in support of
       any Daubert motions related to          May 25,2021 (Dkt.448)            July 2,2021
       class certification
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